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                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                               THE UNITED STATES BANKRUPTCY COURT                                      September 28, 2022
                                   SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                        VICTORIA DIVISION

    In re:                                                    §
                                                              §        Case No. 21-60052
    SCOTT VINCENT VAN DYKE,                                   §
                                                              §        (Chapter 7)
                  Debtor.                                     §



                                      ORDER GRANTING
                  TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE BROKER
                              (This Order Relates to Docket No. 214)


             The Court has considered the Trustee’s Application to Employ Real Estate Broker (the

“Application”)1, the Declaration of Colleen Sherlock in support of the Application, and any

objections or responses filed in respect of the Application, and the record in this case. The Court finds

that (a) notice of the Application was appropriate and adequate under the circumstances; (b) Colleen

Sherlock and Greenwood King Properties II Inc. are disinterested persons as defined in the

Bankruptcy Code and hold no interest adverse to the Estate; (c) good cause exists to grant the

Application; and (d) granting the Application is in the best interest of the Estate.

             It is hereby ORDERED that:

             1.      Catherine Stone Curtis, as trustee of the Debtor’s Estate, is authorized to employ

Colleen Sherlock of Greenwood King Properties II, Inc. (the “Broker”) as a real estate broker,

effective as of August 17, 2022.

             2.      The Trustee is authorized to compensate the Broker at a rate of 6% commission on

the gross sale price on any of the Estate’s properties at closing of the sale of the Property.




1Capitalized terms used but not otherwise defined herein are intended to have the same meaning as defined in the
Application.
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        3.      The Trustee is authorized to reimburse the broker for reasonable expenses associated

with preparing a property of the Estate for sale and maintaining the condition of the property while it

is being marketed, at closing of the sale of the Property.

        4.      The Trustee is authorized to enter into an agreement with the Broker substantially

similar to the agreement attached as Exhibit B to the Application.

        5.      The Court shall retain exclusive jurisdiction over all aspects of this Order.

        Signed this ___ day of August 2022.

                August 02,
                September  2019
                          28, 2022

                                                    HONORABLE CHRISTOPHER M. LOPEZ
                                                    UNITED STATES BANKRUPTCY JUDGE
